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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,

                                     Plaintiff,                    MEMORANDUM & ORDER
                                                                   18-CV-538 (MKB)
                            v.

 NG CHONG HWA,

                                     Defendant.
 ---------------------------------------------------------------
MARGO K. BRODIE, United States District Judge:

        On March 9, 2023, the Court sentenced defendant Ng Chong Hwa, also known as Roger

Ng, to 120 months in custody. (Minute Entry dated Mar. 10, 2023.) At the sentencing, the

parties disputed whether the Court could or should order Ng to pay a forfeiture money judgment

in the amount of thirty-five million one hundred thousand dollars and zero cents

($35,100,000.00). (Id.)



forfeiture money judgment in the amount of thirty-five million one hundred thousand dollars and

zero cents ($35,100,000.00).

   I.   Discussion

            a.   The Court is statutorily required to order the full forfeiture amount

        Under Title 18, United States Code, Section 982, 18 U.S.C. § 981(a)(1)(C) and Title 28,

United States Code, Section 2461(c), 28 U.S.C. § 2461(c), a defendant convicted of a violation

of 18 U.S.C. § 371 must forfeit any property, real or personal that constitutes or is derived from

proceeds traceable to such a violation. Under Title 18, United States Code, Section 982(a)(1), 18

U.S.C. § 982(a)(1), a defendant convicted of money laundering under 18 U.S.C. § 1956(h) must
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forfeit any property, real or personal, involved in money laundering, or any property traceable to

such property. Forfeiture is statutorily required under these statutes. See 28 U.S.C. § 2461(c)

  If the defendant is convicted of the offense giving rise to the forfeiture, the court shall order the

forfeiture of the property as part of the              18 U.S.C. § 982(          The court . . . shall

order that the person forfeit to the United States any property, real or personal, involved in such

offense, or any property traceable to such property.      see also United States v. Viloski, 814 F.3d

104, 111 n.11 (2d Cir. 2016) (      s long as the factual predicate for the application of these

[mandatory criminal forfeiture] statutes has been satisfied, . . . a district court has no discretion

                                                                  istrict courts are bound not to

reduce the amount of a mandatory criminal forfeiture order by the amount of past or future

                                                                                       See United

States v. Bodouva, 853 F.3d 76, 78 79 (2d Cir. 2017). Further, under the dual sovereignty

doctrine of the Double Jeopardy Clause, independent sovereigns may each impose forfeiture as a

form of punishment for the same conduct, and the fact that a defendant has already forfeited a

sum to another sovereign, is not a basis to reduce the forfeiture amount. United States v.

Williams, 519 F. App x 303, 304 (5th Cir. 2013); United States v. Pena, 67 F.3d 153, 155 56

(8th Cir. 1995).

        Because forfeiture is mandatory under the relevant criminal forfeiture statutes, 18 U.S.C.

§981(a)(1)(C) and 982(a)(1), and 28 U.S.C. § 2461(c), and because the government proved by at

least a preponderance of the evidence that Ng received $35.1 million from the offenses, the

Court is statutorily required to order forfeiture in the full amount sought by the government,

thirty-five million one hundred thousand dollars and zero cents ($35,100,000.00). Viloski, 814
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F.3d 104, 111 n.11 (noting that a district court has no discretion to not impose the full amount of

forfeiture).

        Contrar                       he Court does not have discretion to reduce the forfeiture

amount by the sum given to the Malaysian government. See Bodouva, 853 F.3d at 78 79

(explaining that district courts may not reduce the forfeiture amount by the restitution amount);

Williams                 at 304 (finding

allows the State . . . and the United States to prosecute [the defendant] for the same act that

                                                          the defendant was not entitled to an offset

of the amounts already forfeited to the state); Pena, 67 F.3d 153, 155 56 (rejecting the

d                           the forfeiture amount imposed by the district court was illegal because

the State had already taken forfeiture).

           b.   The forfeiture amount is not constitutionally excessive

        Although district courts are statutorily required to order forfeiture in the total forfeitable

amount under the mandatory criminal forfeiture statutes, the total amount of forfeiture must not

violate the Excessive Fines Clause of the Eighth Amendment. United States v. Castello, 611

F.3d 116, 120 (2d Cir. 2010)     The touchstone of the constitutional inquiry under the Excessive

Fines Clause is the principle of proportionality: The amount of the forfeiture must bear some

                                                                            United States v.

Bajakajian, 524 U.S. 321, 334 (1998). To determine whether a fine is constitutionally excessive,

courts consider the following factors: (1) the essence of the crime of the defendant and its

relation to other criminal activity, (2) whether the defendant fits into the class of persons for

whom the statute was principally designed, (3) the maximum sentence and fine that could have

been imposed, and                                                                . Viloski, 814 F.3d
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at 113 (citation omitted). The Second Circuit has held that the factors are non-exhaustive and

that district courts may also consider the effect the forfeiture amount would have on the

                        . Id.

       The Court applies these factors, and considers the fact that Ng already relinquished a

large sum to Malaysia, and makes the following findings:

                   i.   The essence of the crime and its relation to other criminal activity

       Assuming without deciding that Ng is less culpable than his co-conspirators, the fact

remains that he willfully engaged in a multi-year financial scheme, which is enough to militate in

favor of granting forfeiture. See Viloski, 814 F.3d at 113 14                       lthough [the

defendant] insists on his relative lack of culpability, his willful participation              -year

conspiracy involving repeated instances of money laundering, mail fraud, wire fraud, and related



                  ii.   Whether Ng fits into the class of persons for whom the statute exists

       Ng does not dispute that he fits into the class of persons for whom the statute exists. The

Court finds that this factor also weighs in favor of forfeiture. See Viloski, 814 F.3d at 14

defendant] fits squarely into the class of persons for whom the federal mail- and wire-fraud and

money-laundering statutes were designed        namely, those who use facilities of interstate or

foreign commerce to engage in fraudulent schemes and financial transactions and then seek to

conceal or disguise the nature of the proceeds of the fraud.
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                  iii. The maximum sentence and fine that could have been imposed

       Although the maximum fine under the Guidelines range was $500,000, the maximum

fine under the money laundering statute was over $70 million dollars,1 which suggests that that

the forfeiture amount is at least grossly proportional to the gravity of the offense. United States

v. George, 779 F.3d 113, 112 (2d Cir. 2015) (finding no disproportionality in the forfeiture

amount where the forfeiture amount exceeded the guidelines fine range, but was significantly

below the maximum statutory fine); United States v. Garza-Gonzalez

                                 ad [the plaintiff] been subject to a fine instead of forfeiture, the

fine for [the money laundering count] could have been twice that amount

factor in favor of the forfeiture amount).2

                  iv. Nature of the harm caused by Ng

       As mentioned above and at the sentencing, even if Ng is less responsible that the others

charged with similar offenses, he played a role in one of the largest financial crimes of all time.

The scheme resulted in enormous tangible harm, i.e., the theft of $3 billion dollars, and

intangible harm to the           confidence in democracy and government.

                  v.     The effect the forfeiture amount would have on the             future
                         livelihood

       Ng has failed to show that forfeiture would destroy his future livelihood. As the Second

Circuit explained in Viloski                                                               future



       1
          Under Section 1956(a) and (h), a defendant can be sentenced to a fine of not more than
$500,000, or twice the value of the property involved in the transaction, whichever is greater. 18
U.S.C. §§ 1956(a), (h). Ng has not challenged this calculation or even addressed the maximum
fine, except to note that this Court already found that Ng was unable to pay a fine.
       2
         In addition, the restricted guideline term of imprisonment was 360 months. (Minute
Entry dated March 10, 2023).
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livelihood is different from considering as a discrete factor a defendant's present personal

                                                                                      While

                                           indirectly relevant to a proportionality determination, to

the extent that those circumstances, in conjunction with the challenged forfeiture, would deprive

the defendant of his livelihood, id. at 113, Ng has based his argument entirely on his present

personal circumstances and has not shown that he will be unable to earn money in the future.

                    vi. The fact that Ng already paid a large sum to the Malaysian
                        government

          The Court finds that this factor is only relevant to the extent that it helps to demonstrate

that the forfeiture amount would deprive Ng of his future livelihood. The fact that he already

paid a large sum to the Malaysian government does not, on its own, render the forfeiture amount

constitutionally excessive. As explained above, there is no constitutional prohibition on two

separate sovereigns imposing punishment. Williams

view of the dual sovereignty doctrine which allows the State . . . and the United States to

prosecute [the defendant] for the same act that violates their respective laws and to order

                                                            of the amounts already forfeited to the

state).

          Even taking into account the fact that Ng has already paid a large sum of money to the

Malaysian government and even assuming that he is destitute at this time, Ng has not shown that

he will be incapable of earning money in the future.

          These factors weigh in favor of forfeiture.   Therefore, Ng has not demonstrated that the

forfeiture amount is constitutionally excessive. Because the mandatory forfeiture amount is not

constitutionally excessive, the Court orders that Ng forfeit the entire amount.
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  II. Conclusion

       For the foregoing reasons, the Court grants                      motion for a forfeiture

money judgment in the amount of thirty-five million one hundred thousand dollars and zero

cents ($35,100,000.00).3

Dated: March 23, 2023
       Brooklyn, New York

                                                      SO ORDERED:



                                                           s/ MKB
                                                      MARGO K. BRODIE
                                                      United States District Judge




       3
           Contrary to Ng               , and as explained by the Ninth Circuit in the case cited by
Ng, the                      lack of a textual basis for imposing a personal money judgment does
not render the use of a money judgment improper. United States v. Nejad, 933 F.3d 1162, 1165
(9th Cir. 2019) (collecting cases). Money judgments are
                                                                     Id.
        Nor is the money judgment inappropriate because the government has not yet complied
with the substitute asset provisions codified in 21 U.S.C. § 853(p). The government must
comply with those provisions once it seeks to forfeit specific untainted property to satisfy the
money judgment. Nejad, 933 F.3d at 1166 (explaining that once the government identifies
untainted property it seeks to satisfy a money judgment, it must return to the district court and
establish the substitute asset provisions).
